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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 PENNSYLVANIA STATE CONFERENCE                   )
 OF THE NAACP, et al.,                           )
                                                 ) Civil Action No.: 1:22-cv-00339
                Plaintiffs,                      )
                                                 )
         v.                                      ) Judge Susan P. Baxter
                                                 )
 AL SCHMIDT, et al.,                             )
                                                 )
                Defendants.                      )

                 BRIEF IN SUPPORT OF INTERVENOR-DEFENDANTS’
                      MOTION FOR A STAY PENDING APPEAL

       This Court’s ruling that Pennsylvania’s longstanding and commonsense date requirement

for absentee and mail-in ballots violates the federal materiality provision already has changed the

apparent outcome of one Pennsylvania election—and it did so weeks after election day and weeks

after voters had cast their ballots. This post-election changing of the rules and vote totals occurred

in one of the 12 counties subject to this Court’s order, but could not have occurred in any of

Pennsylvania’s 55 other counties. Indeed, those 55 county boards of elections all remain subject

to the Pennsylvania Supreme Court’s order and judgment that the date requirement is mandatory.

See Ball v. Chapman, 289 A.3d 1 (Pa. Feb. 8, 2023).

       This Court’s conflicting order for 12 of Pennsylvania’s 67 county boards of elections

changes the rules of the game after an election; creates inconsistent election rules across the

Commonwealth; threatens to unleash electoral chaos in the imminent 2024 election cycle during

which millions of Pennsylvanians will vote for President, U.S. Senator, and other important elected

officers; is causing irreparable harm to Intervenor-Defendants, their candidate, and their voters;

and presents a reasonable likelihood of appellate reversal. The Court should enter a stay by

December 8 pending orderly appellate proceedings in the Third Circuit and, if necessary, the U.S.

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Supreme Court. See In re Citizens Bank, N.A., 15 F.4th 607, 616 (3d Cir. 2021); Reynolds v. Sims,

377 U.S. 533, 585 (1964); Purcell v. Gonzalez, 549 U.S. 1, 5 (2006) (per curiam); Merrill v.

Milligan, 142 S. 879, 880 (2022) (Kavanaugh, J., concurring in grant of stay).

                                           BACKGROUND

        A.      The Pennsylvania Supreme Court Upheld The Date Requirement In 2022

        Pennsylvania has long required individuals voting by mail to date their ballot. See Act of

Mar. 9, 1945, P.L. 29, No. 17, sec. 10, § 1306, 1945 Pa. Laws 29, 37. Most recently, in 2019 the

General Assembly expanded mail-in voting to all voters, while also mandating that those voting

by mail “shall . . . fill out, date and sign the declaration” printed on the outer envelope of the ballot.

25 P.S. §§ 3146.6(a), 3150.16(a); see Act of Oct. 31, 2019, P.L. 552, No. 77, 2019 Pa. Laws 552.

        The 2019 continuation of Pennsylvania’s historic signature and date requirement has been

the subject of continued litigation. After several challenges to the requirement in state court failed,

individual voters filed a new lawsuit in federal court claiming that the date requirement violates

the federal materiality provision, 52 U.S.C. § 10101(a)(2)(B). A Third Circuit panel agreed, but

the U.S. Supreme Court vacated that decision. See Migliori v. Cohen, 36 F.4th 153, cert. granted

and judgment vacated, Ritter v. Migliori, 143 S. Ct. 297 (2022). When addressing a stay request

on the emergency docket, three Justices opined that the Third Circuit’s now-vacated holding was

“very likely wrong.” Ritter v. Migliori, 142 S. Ct. 1824, 1824 (2022) (Alito, J., dissenting from

denial of application for stay).

        The Pennsylvania Supreme Court also declined to follow Ritter. It affirmed that any

absentee or mail-in ballot that fails to comply with the date requirement is invalid and ruled, by an

equally divided vote, that the requirement does not violate the materiality provision. Ball v.

Chapman, 284 A.3d 1189, 1192 (Pa. 2022); see Ball, 289 A.3d 1; Bonner v. Chapman, 298 A.3d


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153, 167-68 (Pa. Comm. Ct. 2023). It therefore uniformly required all county boards of elections

not to count absentee or mail-in ballots that fail to comply with the date requirement. See Ball,

289 A.3d 1; see also Bonner, 298 A.3d at 167-68.

       B.      Plaintiffs Filed This Suit Shortly Thereafter

       Plaintiffs filed this lawsuit in November 2022, shortly after the Pennsylvania Supreme

Court’s ruling and the 2022 general election. See ECF No. 1. Plaintiffs named every Pennsylvania

county and the Secretary of the Commonwealth as defendants. Plaintiffs claim that the date

requirement violates the federal materiality provision and the Constitution. See id. ¶ 1.

       After discovery, Plaintiffs and Intervenor-Defendants moved for summary judgment on all

claims. See ECF Nos. 270 and 274. The Court largely sided with Plaintiffs, holding that

mandatory application of the date requirement violates the materiality provision. See ECF No.

347 at 61-73. The Court did, however, find that Plaintiffs lacked standing to pursue their Equal

Protection claim against all county boards of elections and their materiality claim against 55 county

boards. See id. at 26 n.12, 34. The Court found standing to sue 12 other county boards, including

the Montgomery County Board of Elections, on the materiality claim. See id. The Court entered

a “declaratory judgment” on Plaintiffs’ materiality claims against those 12 counties and the

Secretary of the Commonwealth. See ECF No. 348 at 4. The Court also enjoined the Secretary

“from directing all county boards of elections of the Commonwealth to segregate, reject, exclude,

or in any way not count” ballots that fail to comply with the date requirement. Id. at 5. The Court

entered judgment on November 29, 2023. See ECF No. 350.

       C.      The Court’s Order Flips An Apparent Election Result After Election Day

       Richard Marino is the vice chairman of the Towamencin Township Board of Supervisors.

See Marino Decl. ¶ 3 (Ex. 1). In the November 7, 2023 general election, he was the Republican


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nominee for reelection to the Board of Supervisors. See id. ¶ 6. Under the rules in effect on

election day—and under which Towamencin Township voters cast their ballots and voted—Mr.

Marino prevailed, receiving 4 more votes than his challenger, Democrat Kofi Osei. See id. ¶ 7.

       This Court’s summary judgment order issued two weeks after election day and after voters

cast their ballots. See ECF No. 347. It nonetheless changed the apparent outcome of the

Towamencin Township election. See Marino Decl. ¶¶ 7-16. Invoking the Court’s order, the

Montgomery County Board of Elections counted 6 ballots that failed to comply with the date

requirement. See id. ¶ 9. Including those noncompliant ballots in the vote total resulted in a tie

between Mr. Marino and Mr. Osei. See id. ¶ 10. The Montgomery County Board of Elections

convened a casting of lots yesterday, November 30, 2023, see 25 Pa. Stat. § 3168, through which

it declared Mr. Osei the winner, see id. ¶¶ 11-12. Mr. Marino is exercising his statutory right to

contest that outcome. See id. ¶ 13. Mr. Marino’s current term of office ends on December 31,

2023. See id. ¶ 15. Absent a stay or change in the apparent outcome caused by this Court’s order,

Mr. Osei will be sworn into office on January 2, 2024. See id.

       D.      The Court’s Order Applies Only To 12 County Boards Of Elections But Not
               The Other 55

       The outcome of the Towamencin Township election would not have changed in the 55

Pennsylvania counties that the Court dismissed from this case on standing grounds. It is axiomatic

that the Court’s order has no effect on non-parties such as those 55 county boards of elections.

See, e.g., Fed. R. Civ. P. 65(d)(2); Chase Nat. Bank v. City of Norwalk, 291 U.S. 431, 437 (1934)

(explaining that court orders can only bind defendants); cf. Griffin v. HM Florida-ORL, LLC, No.

23A366, 2023 WL 7928928, at * 1 (U.S. Nov. 16, 2023) (Kavanaugh, J., statement respecting

denial of stay) (“No federal statute expressly grants district courts the power to enter injunctions

prohibiting government enforcement against non parties . . . .”). Thus, the Pennsylvania Supreme

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Court’s order in Ball requiring county boards not to count absentee or mail-in ballots that fail to

comply with the date requirement remains in effect and binding upon those 55 county boards. See

Ball, 289 A.3d 1; see also Bonner, 298 A.3d at 167-68.

        The Court’s injunction “permanently enjoining the Secretary [of the Commonwealth] from

directing county boards of elections” to enforce the date requirement, see ECF No. 348 at 5, does

nothing to change the obligation of those 55 county boards. In Pennsylvania, county boards, not

the Secretary, are responsible for tallying votes and applying the election laws. See 25 Pa. Stat.

§ 2642 (outlining county boards’ extensive powers and duties over the administration of elections).

Thus, it is the county boards, not the Secretary, that possess authority to determine the validity of

ballots, to count ballots, and to certify election results. See id.

        In other words, the Secretary lacks authority to implement the Election Code, to count

ballots, or to bind county boards of elections. The Secretary “does not have control over the

County Boards’ administration of elections, as the General Assembly conferred such authority

solely upon the County Boards.” Republican Nat’l Committee v. Schmidt, No. 447 M.D. 2022 (Pa.

Commw. Ct. Mar. 23, 2023) (slip op. at 19-20). The Secretary therefore cannot “direct” any county

board of elections—including the 55 county boards dismissed from this suit—to do or refrain from

doing anything, ECF No. 348 at 5, much less to depart from the Pennsylvania Supreme Court’s

order that the date requirement is mandatory.

                                    STANDARD OF REVIEW

        In election cases, the equities alone frequently warrant a stay. As Justice Kavanaugh has

explained, the “traditional test for a stay does not apply.” Merrill, 142 S. Ct. at 880 (Kavanaugh,

J., concurring in grant of stay). Rather, courts can stay injunctions based solely on the disruption




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caused by election-rule changes while expressing “no opinion” on the merits. Purcell, 549 U.S.

at 5.

        Even under the traditional stay factors, Intervenor-Defendants are entitled to a stay if they

can demonstrate (1) a “reasonable chance, or probability” of success on the merits and (2) a

“likelihood” of irreparable harm absent a stay. Citizens Bank, 15 F.4th at 616. Because a stay is

an equitable remedy, the Court should also consider “well-known principles of equity” and the

public interest. Reynolds, 377 U.S. at 585; see Merrill, 142 S. Ct. at 880 (Kavanaugh, J.,

concurring in grant of stay).

                                            ARGUMENT

        Intervenor-Defendants satisfy all the requirements for a stay. The public interest strongly

favors staying an order that has retroactively changed the rules and apparent outcome of an

election, has created inconsistent election rules across the Commonwealth, and threatens to

undermine voter confidence in the integrity of the imminent 2024 elections. Indeed, only a stay

can prevent the Court’s order from unleashing uncertainty, an erosion of voter confidence, a torrent

of litigation, and perhaps even electoral chaos in 2024. Moreover, the Court’s order is imposing

irreparable harm and will continue to do so in future elections until it is stayed or reversed. Finally,

Intervenor-Defendants are likely to prevail on the merits of their appeal. The Court should enter

a stay so that both Pennsylvania’s elections and appellate review may proceed in an orderly

manner.

I.      THE PUBLIC INTEREST AND EQUITIES FAVOR A STAY.

          For at least four reasons, a stay is warranted to serve the public interest in ensuring free,

fair, and trustworthy elections in Pennsylvania.




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       First, the Court’s order already has altered the rules and the apparent outcome of the

Towamencin Township Board of Supervisors election—and it did so weeks after election day and

weeks after voters had cast their ballots. Judicial changes to election rules are not allowed even

shortly before election day because such a change undermines “[c]onfidence in the integrity of our

electoral processes.” Purcell, 549 U.S. at 4. That rule applies “with much more force on the back

end of elections.” Trump v. Wis. Elections Comm’n, 983 F.3d 919, 925 (7th Cir. 2020). “Changing

the rules in the middle of the game is bad enough,” but changing the rules during the post-game

tally risks “severely damag[ing] the electoral system on which our self-governance so heavily

depends.” Republican Party of Pa. v. Degraffenreid, 141 S. Ct. 732, 735 (2021) (Thomas, J.,

dissenting from denial of certiorari). Orders before election day are made behind the veil of

ignorance; neither the court nor the public can know what effect, if any, the order will have on the

outcome. That is not the case for orders “after election day,” giving rise to suspicions that federal

courts are picking winners and losers in partisan elections—particularly where, as here, such orders

do flip the result of an election. See id. A stay permitting the 2023 election results, including in

Towamencin Township, to be certified under the rules set by the General Assembly and in effect

on Election Day 2023 avoids those harms.

       Second, the Court’s order has created disunifomity in the application of the General

Assembly’s duly enacted date requirement across the Commonwealth—and therefore mandates

disparate treatment of voters based on the county in which they live. In particular, the Court’s

order declares that ballots that do not comply with the date requirement must be counted in 12 of

Pennsylvania’s 67 counties, but the Pennsylvania Supreme Court’s order in Ball mandates that

such noncompliant ballots must not be counted in the other 55 counties. See supra pp. 4-5. As a

result, whether a noncompliant ballot will nonetheless be counted now turns on the county in which


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it is cast, not the plain and uniform terms of the Election Code, creating a serious Equal Protection

problem and running counter to the public interest in equitable and uniform election

administration. See, e.g., Reynolds, 377 U.S. at 555 (“[T]he right of suffrage can be denied by a

debasement or dilution of the weight of a citizen’s vote just as effectively as by wholly prohibiting

the free exercise of the franchise.”); Bush v. Gore, 531 U.S. 98, 105-07 (2000) (Equal Protection

violated where “the standards for accepting or rejecting . . . ballots . . . vary from county to county”

and “State accorded arbitrary and disparate treatment to voters in its different counties”).

        Indeed, the Court’s order changed the apparent result of the Towamencin Township Board

of Supervisors race in Montgomery County—but it could not have changed the result of any race

in any of the 55 counties the Court dismissed from this case. See supra pp. 4-5. That fact only

further endangers public confidence in Pennsylvania’s elections and increases the public

perception that courts are selectively declaring winners and losers in partisan elections. See

Republican Party of Pa., 141 S. Ct. at 735 (Thomas, J., dissenting from denial of certiorari).

        Third, the Court issued its order on the eve of the 2024 election cycle in which millions of

Pennsylvanians will cast their ballots for President, U.S. Senator, and other important elected

offices, starting with the primary election on April 23. Pa. Stat. § 2753. That timing alone warrants

entry of a stay. See Purcell, 549 U.S. at 4-5.

        Fourth, it is easy to foresee how, absent a stay, the Court’s order will result in uncertainty,

an erosion of voter confidence, or even chaos in the 2024 election cycle. Pennsylvania elections

have been hotly contested in recent years—and counting ballots that did not comply with the date

requirement has changed the outcome in three races since 2020. Those include the 2020 State

Senate race involving Nicole Ziccarelli, the 2021 Court of Common Pleas race involving David




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Ritter at issue in Migliori, and Mr. Marino’s Board of Supervisors race just this week. See Alleman

Decl. ¶¶ 34-37 (Ex. 2).

       At a minimum, it is foreseeable that the Court’s ruling could change the result of at least

one race in the 2024 election cycle. That outcome would be particularly damaging to the public

interest if the race, such as a statewide race, involves voters from multiple counties, some of which

are—and others of which are not—subject to the Court’s order. In that scenario, the election result

could be flipped by the combination of counting noncompliant ballots in a county subject to the

Court’s order but not counting identical noncompliant ballots in another county. Such an outcome

would both raise Equal Protection problems, see Reynolds, 377 U.S. at 555; Bush, 531 U.S. at 105-

07, and erode voter confidence in the election, see Purcell, 549 U.S. at 4-5.

       Indeed, a regime that requires 12 counties—which are located in predominantly

Democratic-leaning areas, such as Philadelphia and Pittsburgh—to count undated or incorrectly

dated ballots but that requires the remaining 55 counties not to count such ballots invariably will

undermine voter confidence in the integrity of Pennsylvania’s elections, result in inequitable

treatment of identical ballots based on county boundaries, decrease voter turnout and participation,

and spawn even more litigation. The Court should not unleash this parade of harms on the

Commonwealth, its citizens, its elections, or political campaigns. Instead, it should enter a stay

pending appeal to allow the Third Circuit and, if necessary, the United States Supreme Court, the

opportunity to review the Court’s judgment before it alters Pennsylvania’s election landscape in a

vitally important election year.

II.    INTERVENOR-DEFENDANTS, PENNSYLVANIA, AND ALL PENNSYLVANIA
       VOTERS WILL SUFFER IRREPARABLE HARM ABSENT A STAY.

       The Court should also grant a stay because multiple types of irreparable harm have

occurred or will imminently occur if the Court denies a stay.

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       First, Intervenor-Defendants and their supported candidate, Mr. Marino, have suffered

irreparable harm from the post-election change in the apparent result in the Towamencin Township

election. See Kupau v. Yamamoto, 622 F.2d 449, 457 (9th Cir. 1980) (denying “the duly elected

candidate … the opportunity to serve” constitutes “serious[]” “irreparable injury,” even if he can

recover “lost wages”). Indeed, any delay in Mr. Marino taking office—not to mention any

permanent denial of office—after an election in which he prevailed under the rules in effect on

election day irreparably harms him. See id.; Marino Decl. ¶ 16. It also irreparably harms

Intervenor-Defendants, who have an interest in the election of their supported candidates and the

implementation of their preferred policies. See Alleman Decl. ¶ 38. Absent intervention, this

irreparable harm will begin occurring on January 1, 2024, the day after Mr. Marino’s current term

ends. See Marino Decl. ¶ 15.

        Second, the voters who cast their ballots in Mr. Marino’s favor, including Republican

voters, face the irreparable harm of disenfranchisement. When assessing irreparable harm, this

Court must “assum[e] the applicant’s position on the merits is correct.” Philip Morris USA Inc. v.

Scott, 561 U.S. 1301, 1302 (2010) (Scalia, J., in chambers). Here, the Court must assume a stay

is necessary to ensure the winning candidate—Mr. Marino—takes office. Preventing the winning

candidate from remaining on the Towamencin Township Board of Supervisors “seriously harm[s]”

the voters who “elected him.” Kupau, 622 F.2d at 457.

       The harms to Intervenor-Defendants, Mr. Marino, and their voters are particularly acute

here. After all, those harms flow from a post-election change in the rules of the game, see supra

pp. 3-4, and reflect the disparate treatment created by the Court’s order, see supra pp. 4-5. Indeed,

had the Towamencin Township election taken place in the majority of Pennsylvania counties, Mr.

Marino would have been declared the winner. It was only because this election took place in one


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of the 12 counties subject to the Court’s order that Mr. Marino was denied the victory that

Towamencin Township voters awarded him in accordance with the rules in effect on election day.

See supra pp. 4-5.

        Moreover, Intervenor-Defendants, Mr. Marino, and their voters face irreparable harm in

the Towamencin Township Board of Supervisors election even if Mr. Marino is rightfully declared

the winner and permitted to take the office to which he was duly elected. That is because the

Court’s order forces election officials to include “otherwise invalid ballots . . . in the vote totals.”

Carson v. Simon, 978 F.3d 1051, 1061 (8th Cir. 2020). “The counting of votes that are of

questionable legality,” like the six ballots that do not comply with the date requirement,

“threaten[s] irreparable harm to [Marino],” his voters, Intervenor-Defendants, “and to

[Towamencin Township], by casting a cloud upon . . . the legitimacy of [the] election.” Bush v.

Gore, 531 U.S. 1046, 1047 (2000) (Mem.) (Scalia, J., concurring). A stay is necessary to avoid

that harm.

        Third, absent a stay, Intervenor-Defendants, their members, their candidates, and their

voters face irreparable harm in future elections. For example, the Court’s order will subject

Intervenor-Defendants, their voters, their candidates, and their members to disparate treatment

based upon the county in which they reside. See supra pp. 4-5; Reynolds, 377 U.S. at 555; Bush,

531 U.S. at 105-07. Moreover, the Court’s order changes the competitive environment in which

Intervenor-Defendants, their voters, their candidates, and their members exercise their

constitutional rights to participate and vote in elections. See Alleman Decl. ¶¶ 32-33. And it could

even change the outcome of an election to the detriment of Intervenor-Defendants, their voters,

their candidates, and their members, as has occurred in three races since 2020. See id. ¶¶ 32-38.




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        At a minimum, Intervenor-Defendant Republican Party of Pennsylvania (RPP) will be

required to modify its materials for Election Day Operations (EDO), its training materials for poll

watchers, and its voter education materials to reflect the Court’s order. See id. ¶¶ 9-28. Those

modifications will include specifying the 12 counties where the Court’s order is applicable and the

55 counties where it is not. See id. ¶ 26. Those modifications will require RPP to divert resources

away from its intended mission of nominating, promoting, and assisting Republican in

Pennsylvania and of educating, mobilizing, assisting, and turning out voters in Pennsylvania. See

id. ¶ 28.

        Fourth, a stay is needed to prevent irreparable harm to Pennsylvania and all its citizens.

Invalidating a sovereign State’s duly enacted law “clearly inflicts irreparable harm,” Abbott v.

Perez, 138 S. Ct. 2305, 2324 n.17 (2018), and does irreparable “damage … to the authority of” the

General Assembly, Democratic Nat’l Comm. v. Wis. State Legislature, 141 S. Ct. 28, 30 (2020)

(Gorsuch, J., concurring in denial of application to vacate stay). This federal judicial interference

also confuses voters, confounds election administrators, disrupts the machinery of elections, deters

voting, erodes confidence in election outcomes, and causes a host of other “unanticipated

consequences.” Id. at 31 (Kavanaugh, J., concurring in denial of application to vacate stay);

Milligan, 142 S. Ct. at 881 (Kavanaugh, J., concurring in grant of stay); Purcell, 549 U.S. at 4-5.

These harms of potential confusion and erosion of public confidence are only exacerbated here,

where the Court’s order applies in only 12 Pennsylvania counties but not the other 55. The Court

should not inflict this harm on the General Assembly or the people of the Commonwealth while

an orderly appellate process is underway.




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III.   INTERVENOR-DEFENDANTS ARE LIKELY TO SUCCEED ON THE MERITS
       OF THEIR APPEAL.

       Finally, for the reasons Intervenor-Defendants have explained in their summary judgment

briefs, the date requirement does not even implicate, let alone violate, the federal materiality

provision. See ECF Nos. 271, 304, 318. Three Justices of the Supreme Court already have agreed

that the conclusion that the date requirement violates the materiality provision is “very likely

wrong.” Ritter, 142 S. Ct. at 1824 (Alito, J., dissenting from denial of application for stay). So,

too, has the Pennsylvania Supreme Court rejected a materiality-provision challenge to the date

requirement. See Ball, 284 A.3d at 1192. And the Fifth Circuit has announced an interpretation

of the materiality provision contrary to the interpretation this Court favors. See Vote.Org v.

Callanen, 39 F.4th 297, 305 n.6 (5th Cir. 2022). Intervenor-Defendants and Mr. Marino have

more than a “reasonable chance” of success on the merits. Citizens Bank, N.A., 15 F.4th at 616.

                                        CONCLUSION

       This Court should enter a stay pending appeal by December 8, 2023.




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Dated: December 1, 2023        Respectfully submitted,

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